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                               lNITED SlATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,
                                                   C.A. NC. 1 l-CR-00277 (SRC)

            vs.

 MICHAEL F. DURANTE, et al.
                                                                      ORDER




        THIS MATTER having been brought before the Court by
                                                                       Edwards Wildman Palmer,
LLP. attorneys for Third Party CVS Caremark (hereinafter, “CVS”
                                                                      ). and the Court having read
the moving papers served on counsel of record via hand deliver
                                                                  y, and being satisfied that good
cause appears:

       IT IS on this     / day of                        2012 ORDERED that:

       1.         Mark Benedetti is hereby designated as Custodian of Records thr
                                                                                    CVS:
       2.         CVS Pharmacy will provide previously provided records under
                                                                                     the September
2011 subpoena directly to Counsel for Defendant:

       3.         CVS Pharmacy will provide the records sought in the Fehrua
                                                                             r 21. 2012
subpoena to the Court onl for In Camera review by the Court onl\:
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        4.     All parties will appear at a fUture hearing before the court regarding the pending

 Motion to Quash filed by CVS Pharmacy; and

        5.     CVS does not have to provide the documents sought in the February 21, 2012

 subpoena on or before February 28, 2012.




                                                 ON. STANLEY R. CHESLER, U.S.D.J.
